449 F.2d 787
    COMMONWEALTH OF PENNSYLVANIAv.Byron C. MEYERS, Jr., Appellant in No. 19434.Appeal of Eric DYKES in No. 19,435.Appeal of Stephen J. RUSSELL, in No. 19,436.Appeal of Edward SUBER, in No. 19,437.Appeal of Mark K. COVINGTON, in No. 19,438.Appeal of William D. ALLIE, in No. 19,439.Appeal of Julius WILLIAMS, also known as Clarence J. Williams, in No. 19,440.COMMONWEALTH OF PENNSYLVANIAv.Francis BARR, Appellant in No. 19441, Tony Notts.Appeal of Tony NOTTS, in No. 19,442.
    No. 19434.
    No. 19442.
    United States Court of Appeals, Third Circuit.
    Submitted October 21, 1971.
    Decided November 5, 1971.
    
      Appeal from the United States District Court for the Western District of Pennsylvania; Wallace S. Gourley, Judge.
      Harry F. Swanger, Pittsburgh, Pa., for appellants.
      J. Kent Culley, Asst. Dist. Atty., Pittsburgh, Pa. (Robert W. Duggan, Dist. Atty. of Allegheny County, Carol Mary Los, Asst. Dist. Atty., Pittsburgh, Pa., on the brief), for appellee.
      Before ALDISERT, GIBBONS and ROSENN, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM:
    
    
      1
      These appeals from a remand to the state court of two petitions for removal pursuant to 28 U.S.C. § 1443(1) present essentially the same issues previously decided by this court in Hill v. Commonwealth of Pennsylvania, 439 F.2d 1016 (3d Cir. 1970).
    
    
      2
      The judgment of the district court will be affirmed.
    
    